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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR116
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )
                                               )              TENTATIVE FINDINGS
LAVELLE GILES,                                 )
                                               )
               Defendant.                      )


       The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case. The sentencing hearing and preparation of the presentence report have been

advanced. Although because the plea and sentencing are scheduled together, an order

on sentencing schedule has not been issued, the Court notes the absence of any objection

as of this date to the PSR by either party. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the Revised PSR

is correct in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall raise

any objection orally at the sentencing hearing;

       3.      Absent any objections to the PSR, my tentative findings may become final;

and

       4.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.
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      DATED this 20th day of July, 2007.

                                      BY THE COURT:

                                      s/ Laurie Smith Camp
                                      United States District Judge




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